          Case 1:18-cv-13403-NLH-AMD Document 1-1 Filed 08/30/18 Page 1 of 28 PageID: 11




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 18519486
Notice of Service of Process                                                                            Date Processed: 08/03/2018

Primary Contact:           Stevi Honaker
                           Volkswagen Group of America, Inc.
                           2200 Ferdinand Porsche Drive
                           Herndon, VA 20171-5884

Entity:                                       Audi Of America, LLC
                                              Entity ID Number 3155618
Entity Served:                                Audi of America, LLC
Title of Action:                              Donald F. Browne, Jr. vs. Audi AG
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Camden County Superior Court, New Jersey
Case/Reference No:                            CAM-L-002684-18
Jurisdiction Served:                          Delaware
Date Served on CSC:                           08/02/2018
Answer or Appearance Due:                     35 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Stephen P. DeNittis
                                              856-797-9951

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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      DeNITTIS OSEFCHEN PRINCE, P.C.
      Stephen P. DeNittis, Esquire (031981997)
      5 Greentree Centre
      525 Route 73 North, Suite 410
      Marlton, New Jersey 08053
      (856) 797-995.1
      Attorneys for Plaintiffs


      DONALD F. BROWNE, JR., on behalf of SUPERIOR COURT OF NEW JERSEY
      himself and all others similarly situated, LAW DIVISION
                                                      Le"W
                                                         Iu,I~~LIVC~li- ~
                                                                        LN WA
                                 Plaintiff,
                                                       DOCKET NUMBER: CAM-L-2684-18
                     V.

      AUDI AG and AUDI OF AMERICA, LLC, I SUMMONS

                                 Defendants.


      From The State of New Jersey
      To The Defendant(s) Named Above: Audi of America, LLC

              The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
      Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
      this complaint, you or your attorney must file a written answer or motion and proof of service
      with the deputy clerk of the Superior Court in the county listed above within 35 days from the
      date you received the sumrnons, not counting the date you received it. (The address of each
      deputy clerk of the Superior Court is provided.) If the complaint is one in foreclosure, then you
      must file your written answer or motion and proof of services with the Clerk of the Superior
      Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to
      the Clerk of the Superior Court and a completed Case Information Statement (available from the
      deputy clerk of the Superior Court) must accompany your answer or motion to plaintiff s
      attorney whose name and address appear above, or to plaintiff, if no attorney is named above. A
      telephone call will not protect your rights; you must file and serve a written answer or motion
      (with fee of $135.00 and completed Case Information Statement) if you want the court to hear
      your defense.

              If you do not file and serve a written answer or motion within 35, days, the court may
      enter a judgment against you for the relief plaintiff demands, plus interest and costs of suit. If
      judgment is entered against you, the Sheriff may seize your money, wages or property to pay all
      or part of the judgment.

            If you cannot afford an attorney, you may call the Legal Services office in the county
      where you live. A list of these offices is provided. If you do not have an attorney and are not
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      eligible for fee legal assistance, you may obtain a referral to an attorney by calling one of the
      Lawyer Referral Services. A list of these numbers is also provided.


      Dated:                                      /s/ MICHELLE M. SMITH
                                                  Clerk of the Superior Court

      Name of defendant(s) to be served: Audi of America, LLC
                                         c/o Corporation Service Company
                                         251 Little Falls Drive
                                         Wilmington, DE 19808




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      ATLANTIC COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Civil Division, Direct Filing             (609) 345-3444
      1201 Bacharach Blvd., First Fl.           LEGAL SERVICES
      Atlantic City, NJ 08401                   (609) 348-4200

      BERGEN COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Case Processing Section, Room 119         (201) 488-0044
      Justice Center, 10 Main St.               LEGAL SERVICES
      Hackensack, NJ 07601-0769                 (201) 487-2166

      BURLINGTON COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Central Processing Office                 (609) 261-4862
      Attn: Judicial Intake                     LEGAL SERVICES
      First Fl., Courts Facility                (609) 261-1088
      49 Rancocas Road
      Mt. Holly, NJ 08060

      CAMDEN COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Civil Processing Office                   (856) 964-4520
      1st F1., Hall of Records                  LEGAL SERVICES
      101 S. 5th Street                         (856) 964-2010
      Camden, NJ 08103

      CAPE MAY COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      9 N. Main Street                          (609) 463-0313
      Box DN-209                                LEGAL SERVICES
      Cape May Court House, NJ 08210            (609) 465-3001

      CUMBERLAND COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Civil Case Management Office              (856) 692-6207
      Broad & Fayette Sts., P.O. Box 615        LEGAL SERVICES
      Bridgeton, NJ 08302                       (856) 451-0003

      ESSEX COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      50 West Market Street                     (973) 622-6207
      Room 131                                  LEGAL SERVICES
      Newark, NJ 07102                          (973) 624-4500




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      GLOUCESTER COUNTY:
      Deputy Clerk of the Superior Court         LAWYER REFERRAL
      Civil Case Managernent Office              (856) 848-4589 '
      Attn: Intake                               LEGAL SERVICES
      First Fl., Court House                     (856) 848-5360
      1 North Broad Street, P.O. Box 129
      Woodbury, NJ'08096

      HUDSON COUNTY:
      Deputy Clerk of the Superior Court         LAWYER REFERRAL
      Superior Court, Civil Records Dept.        (201) 798-2727
      Brennan Court House — lst Floor            LEGAL SERVICES
      583 Newark Avenue                          (201) 792-6363
      Jersey City, NJ 07306

      HUNTERDON COUNTY:
      Deputy Clerk of the Superior Court         LAWYER REFERRAL
      Civil Division                             (908) 735-2611
      65 Park Avenue                             LEGAL SERVICES
      Flemington, NJ 08862                       (908) 782-7979

      MERCER COUNTY:
      Deputy Clerk of the Superior Court         LAWYER REFERRAL
      Local Filing Office, Courthouse            (609) 585-6200
      175 South Broad St., P.O. Box 8068         LEGAL SERVICES
      Trenton, NJ 08650                          (609) 695-6249

      MIDDLESEX COUNTY:
      Deputy Clerk of the Superior Court         LAWYER REFERRAL
      Administration Building                    (732) 828-0053
      Third Floor                                LEGAL SERVICES
      1 Kennedy Sq., P.O: Box 2633               (732) 249-7600
      New Brunswick; NJ 08903-2633

      MONMOUTH COUNTY:
      Deputy Clerk of the Superior Court         LAWYER REFERRAL
      Court House, 71 Monument Park              (732) 431-5544
      P.O. Box 1269                              LEGAL SERVICES
      Freehold, NJ 07728-1262                    (732) 866-0020

      MORRIS COUNTY:
      Deputy Clerk of the Superior Court         LAWYER REFERRAL
      Civil Division                             (973) 267-5882
      30 Schuyler Pl., P.O. Aox 910              LEGAL SERVICES
      Morristown, NJ 07960-0910                  (973) 285-6911




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      OCEAN COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Court House, Room 119                     (732) 240-3666
      118 Washington Street                     LEGAL SERVICES
      Toms River, NJ 08754                      (732) 341-2727

      PASSAIC COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Civil Division                            (973) 278-9223
      Court House                               LEGAL SERVICES
      77 Hamilton Street                        (973) 345-7171
      Paterson, NJ 07505

      SALEM COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      92 Market St., P.O. Box 18                (856) 935-5628
      Salem, NJ 08079                           LEGAL SERVICES
                                                (856) 451-0003

      SOMERSET COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Civil Division Office                     (908) 685-2323
      New Court House, 3rd Fl.                  LEGAL SERVICES
      P.O Box 3000                              (908) 231-0840
      Somerville, NJ 08876

      SUSSEX COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Sussex County Judicial Center             (973) 267-5882
      43-47 High Street                         LEGAL SERVICES
      Newton, NJ 07860                          (973) 383-7400

      UNION COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      lst Fl., Court House                      (908) 353-4715
      2 Broad Street                            LEGAL SERVICES
      Elizabeth, NJ 07207-6073                  (908) 354-4340

      WARREN COUNTY:
      Deputy Clerk of the Superior Court        LAWYER REFERRAL
      Civil Division Office                     (973) 267-5882
      Court House, 413 Second Street            LEGAL SERVICES
      Belvidere, NJ 07823-1500                  (973) 475-2010




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CANIDEN COUNTY
SUPERIOR COURT
HALL OF JUSTICE
CAMDEN            NJ 08103
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (856) 379-2200
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   JULY 19, 2018
                             RE:     BROWNE DONALD VS AUDI AG
                             DOCKET: CAM L -002684 18

      THE ABOVE CASE,HAS BEEN ASSIGNED TO: TRACK 2.

      THE MANAGING JUDGE ASSIGNED IS: HON DONALD J. STEIN

      IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 102
AT: (856) 379-2200 EXT 3060.

      THE ABOVE CASE HAS BEEN REMOVED FROM THE EXPEDITED CIVIL ACTIONS (ECA) PILOT
PROGRAM PURSUANT TO AN ORDER OF THE COURT. DISCOVERY IS THE APPLICABLE NUMBER OF DAYS FOR
A STANDARD TRACK    2 CASE. RUNNING FROM THE DATE OF THE FILING OF THE FIRST RESPONSIVE
PLEADING.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: STEPHEN P. DE NITTIS
                                             DE NITTIS OSEFCHEN AND PRINCE
                                             5 GREENTREE CENTRE
                                             525 ROUTE 73 NORTH STE 410
                                             MARLTON          NJ 08053
ECOURTS




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                                                       Civil Case Information Statement

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          Case Caption: BROWNE DONALD VS AUDI AG                                                                                 Case Type: TORT-OTHER
          Case Initiation Date: 07/19/2018                                                                                       Document Type: Complaint with Jury Demand
          Attorney Name: STEPHEN P DE NITTIS                                                                                     Jury Demand: YES - 12 JURORS
          Firm Name: DE NITTIS OSEFCHEN AND PRINCE PC                                                                            Hurricane Sandy reiated? NO
          Address: 5 GREENTREE CENTRE 525 ROUTE 73 NORTH                                                                         Is this a professional maipractice case? NO
          STE 410                                                                                                                Related cases pending: NO
          MARLTON NJ 08053                                                                                                       If yes, list docket numbers:
          Phone:                                                                                                                 Do you anticipate adding any parties (arising out of same
          Name of Party: PLAINTIFF : Browne, Donald, F                                                                           transaction or occurrence)? NO
          Name of Defendant's Primary Insurance Company
          (if known): Unknown



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                                                  CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION -



           Do parties have a current, past, or recurrent reiationship? NO

           If yes, is that relationship:

           Does the statute governing this case provide for payment of fees by the losing party?'YES

           Use this space to alert the court to any special case characteristics that may warrant individual
~          management or accelerated disposition:



           Do you or your client need any disability accommodations? NO
                  If yes, please identify the requested accommodation:



           Will an interpreter be needed? NO
                    If yes, for what language:




           I certify that confidential personal identifiers have been redacted from, documents now submitted to the
           court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

           07/19/2018                                                                                                                                                                 /s/ STEPHEN P DE NITTIS                                          ✓
           Dated                                                                                                                                                                                       Signed
    Case 1:18-cv-13403-NLH-AMD     Document
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            Marlton, New Jersey 08053
            (856) 797-9951
            Attorneys for Plaintiffs


            DONALD F. BROWNE, JR., on behalf of               SUPERIOR COURT OF NEW JERSEY
            himself and all others similarly sitnated,        LAW DIVISION
                                                              CAIVIDEN COUNTY
                                        Plainti~
                                                              DOCKET NUMBER: CAM-L-
                            V.
                                                              CLASS ACTION COMPLAINT
            AUDI AG and AUDI OF AMERICA, LLC,

                                       Defendants.




                    1.      This is a class action, brought under New Jersey law, on behalf of a proposed

            class of New Jersey consumers who had replacement brakes, installed on their Audi Q7 vehicles

            by authorized Audi dealerships in New Jersey.

                   2.       Although the replacement brakes were specifically and especially designed,

            manufactured, and approved by Defendants to be installed on Audi Q7 automobiles, and were

            installed by authorized Audi dealerships consistent with uniform practices and procedures

            developed, implemented, and mandated by Defendants, they routinely and frequently emit a

            loud, high-pitched squealing noise when applied — at traffic lights, stop signs, pedestrian

            crossings, and anytime the driver attempts to stop the vehicle.

                   3.       The brakes on a high-end, luxury automobile like the Audi Q7 should not squeal

            when applied.




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                 4.      Deferidants and their authorized dealerships have been informed of this defect

         with Audi Q7 replacement brakes, but have refused to repair or replace them.

                 5.      Indeed, Defendants have taken the position that "there is no fix" for the brake

         defect, and that "Audi, the manufactarer, considers brake noise acceptable."

                 6.      Thus, Plaintiff and the class are stuck with the embarrassment and chagrin of

         driving a luxury vehicle that routinely emits a loud and noticeable squealing noise at stops due to

         their defective brakes.                             `

                 7.      Worse, Plaintiff and the class were induced by Defendants to pay approximately
                                                                       ~
         $1,700.00 for those defective, replacement brakes that routinely squeal when applied.

                8.       As alleged in greater detail herein, Defendants' design, manufacture, and approval

         of defective replacement brakes and subsequent sale of such brakes to Plaintiff and the class,

         without informing Plaintiff and the class of their inherent defects, constitutes an omission of

        material fact and a deceptive business practice in violation of the New Jersey Consumer Fraud

        Act, N.J.S.A. § 56:8-1, et se . and further violates New Jersey common law as set forth herein.

                9.      Tlus action seeks redress for Plaintiff and the class in the form of compensatory

        damages, punitive damages, and injunctive relief, which would include, inter alia, an order

        directing Defendants to cease the challenged practices, including the manufacture, sale, and

        installation of defective, noisy brakes, and initiate a program to provide refunds, repairs, and/or

        restitution to Plaintiff and the class.

                                                  THE PARTIES

                10.     Plaintiff Donald F. Browne, Jr. is an individual and citizen of New Jersey.

                11.     Like all class members, Plaintiff owns an Audi Q7 automobile and had

        replacement brakes installed on that vehicle by an authorized Audi dealership in New Jersey.




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                 12.    Defendant Audi of America, LLC is a Delaware limited liability company with its

         principal place of.business located at2200 Ferdinand Porsche Dr., Herndon, Virginia 20171.

         Audi of America, LLC is a wholly-owned U.S. subsidiary of Audi AG, and it has engaged in

         business, including the advertising, marketing, and sale of Audi automobiles and automotive

         parts — including the Audi Q7 and the defective replacement brakes described herein — in all 50

         states, including New Jersey. Audi of America, LLC owns, operates, manages, supervises,

         and/or controls Audi brand car dealerships in the i7nited States, including New Jersey.

                13.     Defendant Audi AG is a German corporation with its principal place of business

         in Ingolstadt, Germany. Audi AG is the parent company of Audi of America, LLC and a

         subsidiary of the Audi Group, which is a wholly-owned subsidiary of VW AG. Audi AG

         designs, develops, manufactures, and sells luxury automobiles and automotive parts, including

         the Audi Q7 and the defective replacement brakes described herein.

                                         JURISDICTION AND VENUE

                14.    The Superior Court of Camden County, New Jersey has exclusive jurisdiction

        over this case, in that all claims pleaded are New Jersey state law claims and the total amount in

        controversy, including attorney's fees, is less than $5 milliqn.

                15.    This matter is properly venued in Camden County, New Jersey, in that Plaintiff is

        a resident of Camden County; Defendants own, operate, manage, and/or supervise an Audi

        authorized dealership in Cherry Hill, Camden County, namely Cherry Hill Audi; and Plaintiff

        purchased the defective brakes at, and had them installed by, Defendants' authorized dealership

        Cherry Hill Audi,located in Cherry Hill, Camden County.
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                                             CLASS ALLLGATIONS

                16.     Plaintiff brings this action as a class action pursuant to N.J. Court Rule 4:32, on '

         behalf of a class defined as follows:

                   All New Jersey citizens who bad replacement brakes installed on their
                   Audi Q7 vehicles by an authorized Audi dealership in New Jersey
                   between July 19, 2012 and the present.

                17.     The class for whose benefit this action is brought is so numerous that joinder of

        all members is impracticable.

                18.     Plaintiff believes and alleges at this time that there are more than 100 class

        members.

                19.     There are common questions pf law and fact affecting the rights of all class

        members, including the following:

                    a. whether Defendants' uniform actions alleged herein occurred;

                    b. whether the noisy, squealing replacement brakes designed, manufactared, and
                       approved by Defendants to be'installed on Audi Q7 automobiles are defective;

                    c. whether Defendants have refnsed to repair or replace the defective brakes;

                   d. whether Plaintiff and the class-are entitled to injunctive relief in the form of an
                      order establishing a Court-administered program to provide refands, repairs,
                      replacement, and/or restitution'with respect to the noisy brakes;

                   e. whether Defendants knew about the defects in the replacement brakes when it
                      sold them to Plaintiff and the class;

                   f. whether Defendants failed to disclose the defects in the replacement brakes to
                      Plaintiffs and the class;                                  °

                   g. whether Defendants' conduct was a violation of the New Jersey Consumer Fraud
                      Act;

                   h. whether Defendants' conduct constituted a breach of the implied covenant of
                      good faith and fair dealing;.




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                     i. whether Defendants' conduct constituted a breach of the implied warranties
                        accompanying the replacement brakes;

                     j.' whether Defendants' continued refusal to repair or replace the defective brakes
                          constitutes a continued; ongoing breach of contract and warrranty; and

                     k. whether Defendants were unjustly enriched from their sale of defective brakes to
                         Plaintiff and the class.

               20.      Each of these enumerated questions of law and fact is common to each member of

       the proposed class.

               21.      Plaintiff is a member of the class he seeks to represent, and Plaintiffs claims arise
       ~
       from the same factual and legal basis as those of the class; Plaintiff asserts the same legal

       theories as all class members.

               22.      Plaintiff will thoroughly and adequately protect the interests of the class, having

       obtained qualified and competent legal counsel to represent himself and those similarly situated.

               23.      The prosecution of separate actions by individual class members would create a

       risk of inconsistent adjudications, would be economically wasteful and would cause needless

       expenditure of judicial resources.

               24.      Plaintiff is typical of the class in that his claims, like those of the class, arise from

       the same defective product and under the same legal theories.

               25.     Defendants have acted on grounds generally applicable to the class by, inter "

       designing, manufacturing, and approving noisy, defective replacement brakes and requiring its

       authorized dealerships to install those noisy, defective replacement brakes on the Audi Q7 cars

       of Plaintiff and the class.

              26.      A class action is superior to other available methods for the fair and efficient

       adjudication of the controversy.




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                              FACTS GIVING RISE TO THE CAUSES OF ACTION

                 27.    Defendants are designers, manufactarers, and sellers of Audi vehicles and

         automotive parts, including the Audi Q7 and its component parts.

                 28.    Specifically, Defendant Audi AG designed and inanufactared the Audi Q7

         automobile, its components, and its replacement parts, including the defective replacement

         brakes described herein, and approved those replacement brakes to be installed on the Audi Q7.

         Defendant Audi AG funther developed, and mandated the specifications for the replacement

         brakes on the Audi Q7, as well as practices and procedures for the installation of replacement

         brakes on the Audi Q7 by authorized Audi dealerships.

                29.     Defendant Audi of America, LLC owns, operates, manages, supervises, and/or

         controls Audi dealerships in the United States, including Cherry Hill Audi, which is an

         authorized Audi dealership. Defendant Audi of America, LLC sells Audi automobiles, including

        the Audi Q7, and automotive parts, including the replacement brakes described herein, to

        customers in the 'United States. Defendant Audi of America, LLC also installs the automotive

        parts it sells, including the replacement brakes described herein, through its authorized Audi

        dealerships in the United States, including Cherry Hill Audi.

                30.    The Audi Q7 is a niidsize, luxury, crossover SUV designed, manufactured, and

        sold by Defendants from 2005 through the present. It was first sold in the United States in 2007.

               ' 31.   From 2007 through the present, Defendants have sold more than 206,000 Audi

        Q7s in the United States. The Audi Q7 has comprised about 12% of Defendants' total vehicle

        sales (nearly 1.69 million) in the United States during this time period.




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                 32.     A new 2018 Audi Q7 has a starting MSRP of between $50,000 and $65,000,

         depending on the options package selected by the purchaser. A fully-loaded, top-of-the-line

         Audi Q7 can sell for upwards of $90,000.

                 33.    In September 2014, Plaintiffpurchased a used, "certified pre-owned" 2013 Audi

         Q7 from an authorized Audi dealership in New Jersey for approximately $53,000.00. At the

         time of his purchase, Plaintiffs Q7 had 14,825 miles.

                 34.    In or around April of 2016, when Plaintiffs Q7 had approximately 30,381 total

         miies (approximately 15,500 of which had been driven by Plaintiff), he noticed that the original,

         factory-installed brakes had begun to squeak intermittently. Plaintifftook his Q7 to Cheny Hill

         Audi, an authorized Audi dealership and service center owned, operated, controlled, supervised,

         and/or managed by Defendants, and had his brakes adjusted.

                35.     The adjushnent temporarily cured the squeaking issue with Plaintiff's original,

         factory installed brakes. Although Plaintiff's original brakes ultimately began to squeak again on

         occasion over time, Plaintiff understood that older brakes — which had been in service for more

         than 40,000 miles and over 4 and a half years — would be more susceptible to making noise.

                36.     PlaintifPs claims brought herein do not relate to the original brakes on his Audi

         Q7, which were installed by Defendants' Audi factory prior to his purchase of the car, nor do

        they relate in any way to Plaintiff's purchase of the car. Rather, Plaintiff's claims relate solely 'to

        the replacement brakes he purchased from Defendants, and which were installed by Defendants'

        authorized dealership, several years after his purchase of the car itself.

                37.    On October 12, 2017, Plaintiff took his Audi Q7 to Cherry Hill Audi for a 45,000

        mile service. At that time, Plaintiff's Q7 had 42,824 miles.




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                38.       Defendants' technician at Cherry Hill Audi recommended that Plaintiffreplace

         his front and rear brake pads and rotors, as the pads were worn to a thickness of 4mm and 5mm

         respectively.

                39.       Plaintiff took Defendants' recommendation and agreed to have his front and rear

         brakes replaced by Defendants' technician.

                40.      Plaintiff paid Defendants' authorized dealership $924.72 to replace his front brake

         pads and rotors, which amount included $256.76 i4i labor and $658.96 for the following parts that

         Plaintiff purchased from Defendants:

                         a. 1 7L0-698-151-R BRK LINING for $177.95;

                         b. 1 7L0-698-269-A PARTS KIT for $98.31;

                         c. 2 7L0-907-637 SENDER for $76.80;

                         d. 1 7L8-615-301 BRAKE DISC for $152.95; and

                         e. 1 7L8-615-302 BRAKE DISC for $152.95.

                41.      Plaintiff also paid Defendants' authorized dealership $813.40 to replace his rear

        brake pads and rotors, which amount included $332.20 in labor and $481.20 for the following

        parts that Plaintiff purchased from Defendants:

                         a. 1 7L0-698-269 PARTS KPT for $65.55;

                         b. 1 7L0-698-451-H BRK LINIlVG for $106.95;

                         c. 2 7L0-907-637-C SENDER for $76.80; and

                         d. 2 7L8-615-601-G BRAKE DISC for $231.90.

               42.       In tota'1, Plaintiff paid Defendants' authorized dealership, Cherry Hill Audi, a total

        of approximately ~1,671.86 to replace the brakes on his Audi Q7 —$1,738.12 for parts and labor,

        less a 10% "insurance" discount of $173.81, plus New Jersey sales tax of $107.55 (6.875%).

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                 43.    The brake parts that Plaintiffpurchased for his Audi Q7 were genuine Audi

         Original Equipment Manufacturer ("OEM")-parts, in that they were designed, manufactured,

         and/or approved by Defendants specifically'to be installed on Plaintiffs car. Moreover, the

         brake parts were installed on Plaintiffs car by Defendants' technicians pursuant to uniform

         policies and procedures established and mandated by Defendants to be used in Defendants'

         authorized dealerships.

                 44.    In or around April of 2018, Pl'aintii'fnoticed t.hat his new, replacement brakes had

         begun to emit a loud, squealing noise when braking.

                45. ' At this time, Plaintiff s new, replacement brakes were approximately 6 months

         old and had been on Plaintiff s Audi Q7 for less than 3,500 miles.

                46.     Plaintiff took his Audi Q7 to Cherry Hill Imports, an auto group that includes

         Cherry Hill Audi, on Apri130, 2018 and complained that his new, replacement brakes were

         squealing when braking. The mileage on Plaintiff's car at this time was 46,253.

                47.     T'he technicians at Defendants' authorized Audi dealership test drove Plaintiff s

         car, but informed Plaintiff that they could not reproduce the squealing sound when braking.

         They inspected the braking system, however, and found that the rotors were "slightly groove[d]."

         The technicians further found "some discoloration on rotors and found hot spots." The

         recommendation was "possible ... replacing brake pads and rotors to correct issue."
                                                     ~
                48.    Defendants' technician further informed.Plaintiff that Defendants were aware of

        the squealing issue with Audi Q7 replacement brakes.

                49.    Indeed, the technician told Plaintiff that Defendants had intentionally changed the

        composition of the Audi Q7 OEM replacement brake pads and rotors to increase their

        performance, and that the squealing was a recognized side effect of that modification:




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                      50.      Defendants' service manager said that Defendants were woiking to resolve the

              issue and hoped to come up with a"fix" in approximately 2 weeks.

                      51.      PlaintifP continued to drive his)Audi Q7. Unfortunately, the squealing of

              Defendants' replacement brakes grew louder and more frequent, routinely squealing at stops for

              days in a row.

                      52.      On May 22, 2018, Plaintiff contacted the service manager at Defendants'

              autliorized dealership, Cherry Hill Audi, to inquir6 about the status, of the promised "fix" to his

              squealing brakes.

                      53.      The service manager replied that "Audi, the manufacture[r], considers brake noise

              acceptable." Nevertheless, he promised to reach out to Defendants and get back to Plaintiff with

              an update.

                      54.      On May 24, 2018, Defendants' service manager contacted Plaintiif and said that

              he spoke with his "Audi rep" and "was told that there is no .fix at this time" for the brake

              squealing problem on PlaintifF's Audi Q7.

                     55.       Plaintiff then contacted Defendant Audi of America, LLC to inform it of the brake I

              squealing issue on his Audi Q7 and request a repair. Plaintiff even sent Defendant a video of his

              car's brakes squealing loudly as Plaintiffapplied them when approaching a stop sign.

                     56.       To date, however, Defendants have not provided any remedy for Plaintiff s

              squealing brakes.

                     57.       In sum, Defendants sold and installed on Plaintiff's Audi Q7 automobile a set of

             brakes for approximately $1,700.00 that, just 6 months and 3,500 miles after installation,

             frequently and routinely squeal loudly at stops.

                     58.     Defendants have repeatedly refused to correct this squealing problem.




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                59.     Worse, according to Defendants' technicians and service managers, Defendants

         knew (or should have known) that their replacement brakes would squeal before selling the

         brakes to Plaintiff and installing them on his car, having purposely changed the composition of

        the brakes to increase performance and having received complaints about brake squealing issues

        from other Q7 owners. Despite this, Defendants did not inform Plaintiff— or any other customej

        — of this issue prior to charging them upwards of $1,700.00 for defective, squealing brakes.

                60.    As a result of Defendants' actioins,` Plaintiffmust suffer the embarrassment and

        chagrin of driving a$50,000.00 automobile that routinely emits a loud, squealing noise at stops.

                61.    What happened to Plaintiff was not an accident or an isolated incident, nor are the

        defects described herein limited to the specific set brakes purchased by Plaintiff and installed on

        his Audi Q7 vehicle..

                62.     Rather, it was part of a uniform course of conduct by Defendants, in which

        Defendants installed defective replacement brakes on hundreds, if not thousands, of Audi Q7

        vehicles in New Jersey.

                63.    Indeed, there are numerous reports on the internet of Audi Q7 drivers

        experiencing loud, frequent brake squealing on a relatively new set of OEIVI brakes.

               64.     Each of these Audi Q7 drivers has a reasonable expectation that newer brakes on

        a$50-90,000.00 luxury automobile should and would not squeal.

               65.     Further, Plaintiff and the class purchased replacement brakes from Defendants

        and had them installed on their automobiles with the expectation that $1,400.00 replacement

        brakes should and would not squeal.




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                  66.     In fact, there are dozens of cheaper, afftermarket, non-OEM brake pads and rotors

          not manufactured by Defendants that will fit the Audi Q7s of Plaintiff and the class that do not

          routinely squeal when applied.

                  67.     Defendants lmew of the defects in their brakes, including their likelihood to

         squeal, before selling them to Plaintiff and the class and installing them on their cars, but did not

         inform Plaintiff and the class of this fact.

                 68.      Specifically, Defendants have issu'ed at least four Technical Service Bulletins

         ("TSBs') relating to squealing brakes on the Audi Q7, including on December 9, 2011; February

         9, 2015; November 16, 2017; and December 5, 2017.

                 69.     Had Defendants informed Plaintiff and the class about these defects; Plaintiff and

         the class would not have purchased-the defective brakes from Defendants and would not have

         installed them on their cars, but rather would have purchased and installed a different product.

                 70.     Moreover, Defendants knew that there were dozens of cheaper, aftermarket, non-

         OEM brake pads and rotors not manufactured by Defendants that would fit the Audi Q7s of

         Plaintiff and the class and would not routinely squeal when applied, but elected to sell their own

         defective brakes to Plaintiff and the class, and to install them on their cars, solely for Defendants'

        ( own profit.

                 71.     Once Plaintiff and the class became aware of the defects described herein, they

         requested that Defendants repair such defects, but Defendants have not done so.

                 72.     At bottom, Defendants knowingly sold a defective product to Plaintiff and the

         class, without disclosing such defect, and now refuse to provide a remedy, repair, or restitution

         for their actions.




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                  73.     Defendants' conduct described herein constitutes an omission of material fact and

          a deceptive business practice in violation of the New Jersey Consumer Fraud Act, N.J.S.A. §

          56:8-1, et sea.• and further violates New Jersey common law.

                         THE INJUNCTIVE AND DECLARATORY RELIEF SOUGHT

                  74.     Plaintiff and the class are in need of a program to repair or replace the squealing

          brakes on their Audi Q7 vehicles.

                  75.     Plaintiff and the class members shbuld not be required to bear the burden of

          repairing or replacing their brakes when Defendants' conduct is solely responsible for the

          defective condition that makes such repairs or replacement necessary.

                  76.    Moreover, requiring and relying on individual class members to make such

          repairs or replacement would be less efficient and more costly than a standardized program to

          institute such repairs or replacement on a class-wide basis, under Court supervision.
                                                                                         ,

                  77.    Accordingly, Plaintiff and the class seek an order d'uecting that a program be

          established to repair or replace the defective, squealing brakes on the cars of Plaintiff and the

          class, to be administered by the Court under its equitable powers, with the Defendants being

         ordered to pay the costs associated with such'a progranm, for as long as the Court deems

         necessary.

                                                       COUNTI

                                   Consumer Fraud Act, N.J.S.A. 56:8-1. et sea.

                 78.     Plaintiffs incorporate all preceding paragraphs as though fully set forth herein. ,

                 79.     Defendants have engaged in unconscionable business practices relating to the

         and installation of defective, squealing brakes on the Audi Q7 vehicles of Plaintiff and the class.




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                 80.     The inherent defects in Defendants' brakes, in that they had a substantial

          likelihood to routinely emit a loud squealing noise when applied, was a fact material to the sale

         of those brakes to PIaintiff and the class; and .to the installation of those .brakes on the cars of

         Plaintiff and the class.

                 81.     Defendants failed to disclose the existence of this defect to Plaintiff and the class

         at, the time Defendants sold the brakes to them and installed the brakes on their cars.

                 82.     As outlined previously, Defendanth were aware of the inherent defects in their ,

         brakes at the time the brakes were sold to Pl'aintiff and the class and installed on their cars.

                 83.     Despite this, Defendants did not reveal the defects to Plaintiff and the class, either

         before, during, or after Defendants sold the brakes to Plaintiff and the class and installed the

         brakes on their cars.

                 84.     Thus, Defendants made knowing omissions of material fact in the sale and

         installa.tion of these brakes and, by the acts alleged herein, engaged in unconscionable business

         practices.

                 85.    Plaintiff and the class have each suffered an ascertainable loss of money and

         property as a result of the unconscionable business practices described herein, having been

         deprived of the benefit of their bargain in that each paid approximately $1,700.00 for new brakes

         for their luxury automobiles, but received defective brakes that constantly squeal.

                86.     Moreover, Plaintiff and the class each have or will be required to expend monies

         to conduct repairs or replace their brakes to stop the constant squealing.

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                 Imnlied Warranty of Merchantabilitv and Fitness for a Partieular Pnraose

                87.     Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.



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                88.      By operation of law, Defendants' brakes were covered by the implied warranty

         merchantability and fitness for a'particular purpose, which means that they must be fit for their

         ordinary and intended purposes and use.

                89.     By the fact alleged herein, Defendants' brakes are not fit for their ordinary or

        intended use.

                90.     Indeed, the fact that Defendants' brakes frequently and routinely make a loud

        squealing noise when applied render them unable`to work as intended.

                91.     Plaintiff and the class reasonably expected that brakes designed, manufactured,

        and/or approved for a use on a$50-90,000.00 car, themselves costing $1,700.00, would not

        regularly squeal.

                92.     Consequently, Defendants have breached the implied warranties of

        merchantability and fitness for a particular purpose as to their brakes.

                93.     Moreover, Defendants continue to breach the implied warranties of

        merchantability and fitness for a particular purpose because they refuse to repair or replace their

        defective brakes.

                94.     All conditions precedent to Defendants' liability under the implied warranties of

        merchantability and fitness for a particular purpose have been fulfiilled by Plaintiff and the class

        members or have been waived, in that, inter alia. Plaintiff and the class members have paid for

        the brakes, have provided Defendants with notice of the brakes' defects, and have sought relief

        from Defendants, but Defendants have refiused to repair or replace them.

               95.      As a direct and proximate result of Defendants' breach of the implied warranties

        of inerchantability and fitness for a particular purpose, Plaintiff and the class members have been

        injured and have suffered actual damages in an amount to be established at trial.



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                                                       COUNTIII
                       Breach of Implied Contract - Dutv, of Good Faith and Fair Dealin~

                 96.     Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

                 97.     There was no express contract between Plaintiff and the class members and

         Defendants.

                 98.     By operation of New Jersey law, the facts alleged herein establish the existence

         an implied contract for the sale and purchase of biakes between Defendants and Plaintiff and

         each class member.

                 99.     By operation of New Jersey law, there was an implied covenant of good faith and

         fair dealing in each such implied contract.

                 100. The conduct by Defendants described herein breached that covenant.

                 101. Specifically, Defendants breached that covenant by failing to inform Plaintiff and

         the class of the likelihood that their brakes would squeal prior to selling and installing the brakes

         on the cars of Plaintiff and the class.

                 102. Defendants continue to breach that covenant by refusing to repair or replace the

         defective bralces on the cars of Plaintiff and the class.

                 103. As a result of Defendants' breach, Plaintiff and each class member has suffered

         damages.

                                                      COUNT IV

                                         Uniust Enrichment/Disgorgement

                104. Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

                105. This claim is alleged in the alternative to Plaintiff's claims for money damages.




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                 106. By the acts alleged herein, Defendants received a benefit from Plaintiff and the

         class, in the form of fees paid to Defendants by Plaintiff and the class for the purchase of

         replacement brakes from Defendants.

                 107. The retention of that benefit by Defendants would be unjust because, inter alia,

         the replacement brakes that Defendants sold to Plaintiff and class were defective due to their

         persistent squealing, and Defendants were aware of these defects prior to the sale but failed to

         inform Plaintiff and the class.

                 108. By the facts alleged herein, equity demands that Defendants disgorge themselves

         of this benefit and that the benefit be returned to Plaintiff and the class.

                                               PRAYER FOR RELIEF

                WHEREFORE, Plaintiff asks this Court to:

                a. Certify this matter as a class actibn pursuant to R. 4:32;

                b. Enter an order for injunctive relief against Defendants, establishing, under the Court's
                   equitable powers and at Defendants' expense, a Court-administered program to repair
                   or replace the brakes on the vehicles of Plaintiff and the class;

                c. Enter judgment in favor of each class member for damages suffered as a result of the
                   conduct alleged herein; to include interest and pre judgment interest;

                d. Award Plaintiff and the class treble and punitive damages;

                e. Award Plaintiff reasonable attorneys' fees and costs; and

                f. Grant such other and further legal and equitable relief as the Court deems just and
                   proper.

                                                        DeNITTIS OSEFCHEN PRINCE, P.C.


        Dated: July 19, 2018
                                                         BY:




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                                                  JURY TRIAL DEMAND

                   PLEASE TAKE NOTICE that the Plaintiff hereby demands a trial by jury as to all parties.

                               CERTIFICATION PURSUANT TO N.J.S.A: 56:8-1, et sea.

                     The undersigned hereby certifies that a copy of this complaint has been forwarded to the

             Attorney General of the State of New Jersey.

                                         DESIGNATION OF TRLA,L COUNSEL

                     Pursuant to R. 4:25-4, Stephen DeNittis is'designated as trial counsel.

                                      CERTIFICATION PURSUANT TO R. 4:5-1

                    I hereby certify, pursuant to R. 4:5-1, that to the best of my knowledge, information and

             belief at this time the matter in controversy is not the subject of any other action pending in any

             Court, nor of any pending arbitration proceeding, that no other action or arbitration is

             contemplated, and fiarther that there are no other parties who should be joined in this action.


                                                           DeNITTIS OSgFCHEN PRINCE, P.C.




                                                                   S

            Dated: July 19, 2018




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